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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


                                          :
                                          :
 SHANITA SWANSON,                         :
                                          :
       Plaintiff,                         :
                                          :
                                                  CIVIL ACTION NO.
 v.                                       :
                                                  1:21-cv-00996-AT
                                          :
                                          :
 FULTON COUNTY, GA et al.,                :
                                          :
       Defendants.                        :
                                          :


                                    ORDER

      This matter is before the Court on View Point Health’s Motion to Quash or

Modify Subpoena [Doc. 68]. View Point Health is a medical provider and a non-

party to this action. Defendants James Luster and Jeremiah Whitehead served View

Point Health with a subpoena on August 24, 2021, requesting that View Point Health

provide “[f]rom any and all dates . . ., any and all medical documents and records

pertaining to the care, treatment, and examination of Anthony J. Mitchell.” (View

Point Health Subpoena, Doc. 68-1.) View Point Health moved to quash Defendants’

subpoena on September 22, 2021.

      Upon review of View Point Health’s Motion, the Court ORDERS the parties

to confer regarding reasonable modification of Defendants’ subpoena, including

how to narrow the scope of the subpoena, by November 15, 2021. The parties
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are then ORDERED to provide the Court with a status update by November 22,

2021 stating whether the parties have reached an agreement about how to modify

and narrow the scope of the subpoena. If the parties are unable to resolve this

subpoena issue, Defendants James Luster and Jeremiah Whitehead are

ORDERED to respond to View Point Health’s Motion to Quash or Modify

Subpoena by November 29, 2021. View Point Health will have until December

3, 2021 to reply.

      IT IS SO ORDERED this 2nd day of November, 2021.



                                    ____________________________
                                    Honorable Amy Totenberg
                                    United States District Judge




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